AO 91 ( Rev. 11/ 11) Criminal Complamt



                                     U IT DST T                       DI         RI T CO RT                                FILED
                                                                    for the                                                   (;er
                                                     Eastern District of orth    arolina                              MAY 16 2024
                                                                                                                PETER A. MOORE, JR., CLERK
                   United tares of         merica                     )                                          US DI~     COURT, EDNC
                                                                                                               BY_-,...=-._ _ _ OEPCLK
                                V.                                    )
                  Damian Alexander Brezinski                          )         ase o.
                                                                      )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)


                                                     CRIMINAL COMPLAINT
          I, the complainant in this case, tate that the following is true to the be t of m knowledge and belief.
On or about the date( ) of               September 2022 to April 2024         in the county of           New Hanover             in the
        Eastern        Di trict of           North Carolina       . the defendant(s) violated :

              ode Section                                                        Offense De cription
18 U.S.C. § 2422(b)                                 Online sexual enticement of a minor




          Thi criminal complaint is based on the e facts :

See attached affidavit, incorporated as if fully restated herein.




          ~ ontinu d on the attached heet.




                                                                                           Kelly Kucala, FBI Special Agent
                                                                                                  Printed name and title

   orn to before me and igned in my pre ence.



Date:      (11'1 / b           2-<lJ-        f
City and tate:                            Wilmington , NC                           Robert B. Jones, Jr. , U.S. Magistrate Judge
                                                                                                  Printed name and title




                      Case 7:24-mj-01115-RJ Document 1 Filed 05/16/24 Page 1 of 9
             AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Kell Kucala, a pecial agent with the Federal Bureau of Inve tigation

being duly worn, depo e and tate a follow :

                                 BACKGROUND

       1.     I, Kelly Kucala, have been employed a a pecial agent of the Federal

Bureau of Inve tigation (FBI) ince January 17, 2021, and am currently a igned to

FBI' Charlotte Division, Wilmington Resident     gency. I have received training and

I have experience in federal law enforcement inve tigation , including investigations

into u pected narcotic , human trafficking, and violent crime again t children. I

have participated in the execution of earch and arre t warrant . A a federal law

enforcement officer, I am charged with the duty of inve tigating violation of United

State Code and collecting evidence in matters in which the United State 1s or may

be a party of intere t. I am charged with inve tigating a range of crime , including

offen e related to ex trafficking, child sexual abu e, and narcotic . Specifically

pertaining to child exploitation inve tigation and online enticement, I have gained

experti e through training di cu ion with other law enforcement officer          and

everyday work conducting these type of inve tigation . I have viewed numerou

images and videos depicting the exual exploitation of children in a variety of media

both in my profe ional training and in the inve tigation of criminal offen e . I have

al o pent ignificant time interacting with and observing children a part of my

profe sional dutie and in my per onal experience. I have inve tigated numerou

ca es involving child victim .




            Case 7:24-mj-01115-RJ Document 1 Filed 05/16/24 Page 2 of 9
       2.      Thu , I am an inve tigative or law enforcement officer of th Unit d

 tate within the meaning of 18 .. C. § 2510(7). That i , I am an officer of the United

 tate who i empowered b law to conduct inve tiga ion of, and make rre t for.

violation of federal law, including the offen e enumerated in chap er 77, 110, nd

117 of Title 1 , United State Code.

       3.      The tatemen       contained in thi affidavit are ba ed upon m per onal

knowledge· information provided b           other indi idual     including other law

enforcement official • my review of record       obtained dw·ing the cour e of hi~

inve tigation; and my exp rience and background a a pecial agent of the FBI. Since

thi affidavit i being ubmitted for the limited purpo e of ecuring an arre t warrant

I have not included in thi affidavit each and every fac and circum tance known to

me, but onl the fact and circum tance         ufficient to e tabli h probable cau e. All

age e timation in thi affidavit are ba ed on, among other thing , m training and

experience a a criminal inve ti ator who pecialize in offen e involving children

and my per onal life experience.

      4.       Thi affidavit i    ubmitted in upport of a criminal complain charging

that beginning no later han Septemb r 2022 and continuing to in or about April

2024, in the Ea tern Di trict of orth arolina Damian Alexander BREZI            KI u ed

a facility or mean of inter tate commerce, namely cellular elephone that operate

over the Internet and cellula.T network      to per uade, induc , or entice a minor to

engage in ill gal exual activity in violation of 1 U.S.C. § 2422(b).




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            Case 7:24-mj-01115-RJ Document 1 Filed 05/16/24 Page 3 of 9
                                     PROBABLE CAUSE

                  On    ay 13, 202      oa tal Carolina Human Trafficking Ta k Force met

with I ure Beach Police Department (KBPD) regarding an inve tigation into Damian

Alexand r BREZ! SKI, born ept mber 10, 1962. On May 3 2024, KBPD arre ted

BREZ!          KI for indecent lib rti      wi h a child and fir t degree tatutory exual

o:ffi n   . KBPD execu ed       arch warrant a BREZ!        KI' home nd office and eized

elec ronic de ice . On Ma            202    BREZ!    KI wa char    d with four additional

co un     of indecent libertie wi h a child three count of ta utory exual offen e with

a child by an adult, olicitin a child b a computer and ta utory rape of a child b

an adult.

          6.      BREZ! SKI i a cardiologi t who owned th medical practice I land

Cardiolo        , 132       Lake Park Boulevard #103 Carolina Beach.      ·orth Carolina

2 42 . and a cardiologi         a Bougainvillea Clinic PO Box 37 Road Town Tortola,

Briti h Virgin I land ,          Glll0. BREZ! SKI al o h d addi ional bu ine e

regi tered to him including I land Imaging PLL , Keep th B at Alive, Inc., and

Chord for a         au e, Inc. Record      how that BREZ!    KI ha r ided within in the

Ea ern Di rict of orth arolina ince 1991 and obtained a dri er licen e in           or h

 arolina iting a Wright vill Beach PO Box in 1992.

          7.     The inve tiga ion into BREZ!       KI wa ini ia ed aft r he Departmen

of oci l        ervice (D    ) r c ived two anonymou~ tip on       ay 2, 2024, regarding

BREZI SKI. According to the tip ter , BREZ! SKI wa dating an adult woman

(who e name the caller          p cified) and exuall a aultin     h woman' 10-year-old



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               Case 7:24-mj-01115-RJ Document 1 Filed 05/16/24 Page 4 of 9
      daughter, whom th caller identified b name and whom I will refer to a ' Minor

       ictim 1. '

             8.      Wi h th information provided D    and KBPD conducted a fact-findin

      interview wi h      rnor   ictim 1 on   ay 3, 2024. Minor    ictim 1 di clo ed tha

      BREZI SKI had inappropriatel touched her.       ccording to her di clo ure to KBPD,

      BREZE SKI mad Minor ictim 1 touch hi peni and he would pu hi peni again

      her vagina. Thi typ of exual abu e occm-r d nightly and had b en ongoing inc

      approximatel 2020. Law enforcement officer verified      inor ictim 1' date of birth

      and confirmed that he i cuTrentl ten ear old.

             9.      Minor ictim 1' mother wa in erviewed on      ay 3 202   b KBPD and

      DS . She tated he learned of the abu e in mid- pril 2024 and cut offBREZI        KI'

      contact to Minor ictim 1.     mor ictim l ' mo her wa unemplo      d and completel

      fin nciall dependen on BREZI       KI who wa paying for her hou ing and expen e .

             10.     On Ma 3, 2024, Minor     ictim 1 mother provided Ring camera video

      footage from her hou . The Ring camera wa       tationed in the family living room.

      On pril 18 2024 at 23:09 the camera captured BREZI          KI in the living room. In

      the video footage BREZ!      KI can be een removing hi pan        which expo ed hi

      bare buttock , and hen walking up tair . Loca ed up tair wa Minor           ictim 1

      room and a gue t bedroom . BREZI        KI and Minor   ictim l ' mother harnd the

      room down tair . BREZI       KI returned down tair apprnximatel 40 minute later.

       inor ictim 1 mother a ed the video foo age on pril 20 2024.




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<if               Case 7:24-mj-01115-RJ Document 1 Filed 05/16/24 Page 5 of 9
       11.    On May 7 2024, Minor ictim 1 wa interviewed at the Carou el Center.

During her interview, he disclo ed that BREZI SKI would exually a ault her in

her bedroom mo tly during the middle of the night. He would enter her room with

the light of hi phone on and then get into bed with her. Once in bed, BREZI SKI

would remove Minor Victim 1' clothe and hi pants. Minor Victim 1 di closed that

BREZI SKI would digitally penetrate her vagina. If Minor Victim 1 attempted to get

away from BREZINSKI, he would queeze her wrists and waist and pull her back

clo e. She reported hi   trong grip again t her tomach made it difficult for her to

breathe.

       12.    During Minor ictim 1' interview on May 7 2024, he alluded to three

of her minor friends being touched inappropriately by BREZI SKI.

       13.    Minor Victim 1 informed the medical phy ician at the Carou el Center

that BREZI SKI' sexual a sault caused her to experience a burning ensation

when he peed.

       14.    A review of Minor   ictim 1' mother' phone howed that the mother

had earched if it was normal for a 9-year-old female to experience vaginal di charge.

       15.    Minor Victim l's mother con ented to law enforcement reviewing the

contents of the mother    cellular phone, an iPhone 14 ProMax smartphone, IMEI

353885664184287 that operate over a cellular network and over the Internet.

       16.    A preliminary review of text mes age between Minor ictim 1' mother

and BREZI SKI wa conducted. On April 11, 2024, BREZI KSI sent Minor Victim

1' mother a text mes age requesting that she perform oral ex on him in the car with




                                         5
           Case 7:24-mj-01115-RJ Document 1 Filed 05/16/24 Page 6 of 9
Minor    ictim 1 pre nt. BREZ! KSI referred to         mor    ictim 1 in the e me ag

a "Wolf ub.        inor ictim 1' mother repor d o law enforcement that he wan d

  mor ictim 1 to re£ r to him a "Wolf Daddy."

        17.    L cated on    mor    ictim 1' mother' cellular device wa a video of

BREZ!       IU ki ing Minor ictim 1 neck and holding her che t.

        1      K.BPD al o ob ained a tate earch wanant igned b a uperior Cour

jud e to earch BREZ!         KI    electronic de ice . KBPD conducted a preliminary

review of BREZ! SIU cellular telephone a ilver and gold iPhone 12 Pro ax, IMEI

357771752205075, martphone that operate over a cellular n work and over th

Int rnet. An initial review of text me age b tween BREZ! SKI and            inor ictim

1 indica ed that BREZ!        KI wa     ending and r ceivin       text me age on that

 martphone to entice     olicit coerce and exploit Minor ic im 1 exuall .

        19.    For example, on Sep mber 29 2022, BREZI            IU a ked Minor 1c rm

1 via text me a e if he could "nibble on be back of our n ck.' Her re pon e wa . 'I

gue ." That ame da       BREZ!      KI me aged F and tated, "Imma ki        your whole

fac ! ' On July   2023 BREZ! SKI me aged F and a ked, 'When are you going to

bed and You want ome company?' F            re pon e wa 'no im good.       don pril ,

2024, BREZI       KI ent ong lyric to Minor      ictim 1 via ext me age tha had he

following line : "I want o lick ac uall I d prefer to fuck ' "Touch me (and m dick)

"Do ou mind if I pu h my ongu all the way in?'' "Premature ejaculation vir in      ou

can give it to me all at once ' I 11 tear our mind to piece . '




                                            6
            Case 7:24-mj-01115-RJ Document 1 Filed 05/16/24 Page 7 of 9
            20.     ccording to a phone ex raction review of BREZ!        KI'   phone it

     appeared that after April 20 2024-the day          mor   ictim 1' mother found th

     incriminating Ring c mera footage-h     earched for information on how o change

     hi fingerprint, identit chan e urg ry in the       aribbean "doe the victim have to

     pre   charge    to arre   for a   exual offen e, how to beat a polygi-aph, and

     'inappropriate a ociation p ch confu ing daught rand mother example ."

            21.     t all time rel vant, Minor Victim 1 and her mother lived in } ure

     Beach in th Ea tern Di trict of or h    arolina.

            22.     nder   orth Carolina law, a per on commit     tatutory exual offen e

     with a child b an adult "if h per on i at lea t 1 year of age and engage m a

      exual act with a victim who i a child under he age of 13 year .'     .C. Gen.   tat.

     § 14-27.2 .

                     (REST OF P GE I TENTIO ALLY LEFT BLANK)




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{J            Case 7:24-mj-01115-RJ Document 1 Filed 05/16/24 Page 8 of 9
                                  co
       23.   Ba ed on m training and exp rience and a      fui- h r   upported b   he

fact in thi affidavit, I re pectfully ubmit that there i probable cau e to believ

that beginning no la r than September 2022 and continuing to on or about pril 1

2024 in the Ea tern Di trict of    orth   arolina Damian Alexander BREZI           KI
knowing! u ed a facilit or mean of inter ta e commerce, namely, the Interne , to

per uade induce or entice a minor to en age in exual activit in violation of 1

 . .C. § 2422(b).

                                            Re pectfull    ubmitted,



                                            Special Agent K 11 Kucala
                                            Federal Bureau of Inve tigation



 WOR    TO      D UB     RIBED BEFORE         THIS    {~       D      OF    Y 2024.




        Case 7:24-mj-01115-RJ Document 1 Filed 05/16/24 Page 9 of 9
